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I`N THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

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W pATEs answer coun'r

.m-nm~ \l,.,,`\,,__v‘,_r`

UNITED STATES OF AMERICA, )
) JAN 13 2001
Plaintiff, ) ..,,, _ 1
) MX%):%.,¢§
vs. ) CLERK
)
MICHAEL ESTRADA, ) chMtNAL No. 01- 7 l
)
Defendant. ) COUNTS I and H: 21 U.S.C. § 841 (a)(l);
) 21 U.S.C. § 841 Cb)(l)(C): Distribution of
) Less Than 500 grams of Cocaine; and 18
) U.S.C. § 2: Aiding and Abetting.
lN D I T M E N T
The Grand Jury charges:

COUNT I
On or about the 12th day of Jurle, 1996, in Luna County, in the State and District of
New Mexico, the defendant, MICHAEL ESTRADA, did unlawfully, knowingly and intentionally
distribute less than 500 grams of a mixture and substance containing a detectable amount of Cocaine,
a Schedule II controlled substance
In violation 0f21 U.S.C. § 841(a)(1) and 21 U.S.C. § 841(b)(1)(C) and 18 U.S.C. § 2.
COUNT II
On or about the 27th day of September, 2000, in Luna County, in the State and
District of New Mexico, the defendant, MICHAEL ESTRADA, did unlawfully, knowingly and
intentionally distribute less than 500 grams of a mixture and substance containing a detectable

amount of Cocaine, a Schedule II controlled substance.

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Inviolationof21 U.S.C. § 841(a)(l) and 21 U.S.C. § 84l(b)(1)(C) and 18 U.S.C. § 2.

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"¢' United States Attorney
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